Case: 1:24-cr-00027-JPC Doc #:1 Filed: 01/23/24 1o0f1. PagelD #: 1

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JAN 23 2024

CLERK, US. DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF OHIO NORTHEAN DISTRICT OF OHIO
EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, )
) 3 R 90027
v. ) caseno! 24 C |
) Title 18, United States Code,
CLEMMON COUSINS, ) Section 751(a)
)
Defendant. )
JUDGE CALABRESE
COUNT 1
(Escape From Custody, 18 U.S.C. § 751{a))
The Grand Jury charges:
1. On or about July 26, 2023, in the Northern District of Ohio, Eastern Division,

Defendant CLEMMON COUSINS did knowingly escape from custody in Oriana House, an
institutional facility in which he was lawfully confined at the direction of the Attorney General,
by virtue of a judgment and commitment of the United States District Court for the Northern
District of Ohio, upon conviction for the commission of Felon in Possession of Firearm in Case
Number 1:19CR710, in the United States District Court, in the Northern District of Ohio, Eastern
Division, on September 24, 2020, in violation of Title 18, United States Code, Sections 922(g)(1}
and 924(a)(2), in violation of Title 18, United States Code, Section 751 (a).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002,
